UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


DR. ELVISHA DHAMALA, DR. SHELLEY
FACENTE, DR. ROBERT MAHON, and DR.
LUCINA UDDIN,

                                          Plaintiffs,
                        vs.

ELSEVIER, B.V., INFORMA PLC,
INTERNATIONAL ASSOCIATION OF                             Case No. 1 :24-cv-06409-HG
SCIENTIFIC, TECHNICAL, AND MEDICAL
PUBLISHERS, JOHN WILEY & SONS, INC.,                     ORAL ARGUMENT REQUESTED
SAGE PUBLICATIONS, INC., SPRINGER
NATURE AG & CO. KGaA, TAYLOR &
FRANCIS GROUP, LLC, TAYLOR & FRANCIS
GROUP, LTD., WOLTERS KLUWER HEALTH,
INC., WOLTERS KLUWER N.V., and JOHN
DOES 1 THROUGH 50,

                                        Defendants.


                          DECLARATION OF JESSE M. WEISS

       I, Jesse M. Weiss, hereby declare as follows:

       1.     I am a Partner with the law firm Cravath, Swaine & Moore LLP, counsel for

Defendant Elsevier B.V. in the above-captioned case. I am a member of the bar of the State of

New York and of this Court.

       2.     I submit this declaration in support of Defendants' Joint Motion to Dismiss the

Amended Complaint, filed on May 5, 2025.

       3.     Attached as exhibits to this declaration are the following documents cited in

Defendants' Memorandum of Law in Support of Defendants' Joint Motion to Dismiss the

Amended Complaint:
                a.     Exhibit 1 is a true and correct copy of the International Ethical Principles

for Scholarly Publication (the "Principles"). The Principles currently can be accessed at:

https://stm-assoc.org/document/stm-ethical-principles-for-scholarly-publication/. An archived

copy of the Principles as of one week before the filing of the original complaint in this matter can

be accessed at: https://web.archive.org/web/20240907122438/https://www.stm-

assoc.org/2013 05 21 STM Ethical Principles for Scholarly Publication.pdf.

               b.      Exhibit 2 is a true and correct copy of Defendant Elsevier B.V.'s "The role

of a reviewer" webpage. This webpage currently can be accessed at:

https://www.elsevier.com/reviewer/ro 1 e#0-the-role-of-a-reviewer. An archived copy of this

webpage as of the date of the filing of the original complaint in this matter can be accessed at:

https://web.archive.org/web/20240912133139/https://www.elsevier.com/reviewer/role#0-the­

role-of-a-reviewer.

               C.      Exhibit 3 is a true and correct copy of Defendant Elsevier B.V.'s

"Simultaneous Submission" factsheet. This factsheet currently can be accessed at: https://

researcheracademy.elsevier.com/uploads/2018-02/2017 ETHICS SSUB02.pdf. An archived

copy of this factsheet as of three months before the filing of the original complaint in this matter

can be accessed at: https://web.archive.org/web/20240623120931/https://researcheracademy.

elsevier.com/uploads/2018-02/2017 ETHICS SSUB02.pdf.

               d.      Exhibit 4 is a true and correct copy of Defendant Elsevier B.V.'s "Article

sharing" webpage. This webpage currently can be accessed at:

https://www.elsevier.com/about/policies-and-standards/sharing. An archived copy of this

webpage as of the date of the filing of the original complaint in this matter can be accessed at:




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https://web.archive.org/web/202409121 70627/https://www.elsevier.com/about/policies-and-

standards/sharing.

               e.      Exhibit 5 is a true and correct copy of Defendant Taylor & Francis Group

LLC ' s "Sharing versions of journal articles" webpage. This webpage currently can be accessed

at: https ://authorservices. tay lorandfrancis.corn/research-impact/sharing-versions-of-journal-

articles/. An archived copy of this webpage as of one month before the filing of the original

complaint in this matter can be accessed at:

https ://web .archive.org/web/2024080813495 6/https ://authorservices. tay lorandfrancis.corn/resear

ch-impact/sharing-versions-of-journal-articles/.

       4.      I declare under the penalty of perjury that the foregoing is true and correct.



Executed on May 5, 2025.




                                                                 Jesse M. Weiss




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